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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 ERIK ALAN FURDERO,
                                                 Case No.: 1:18-cv-00397-GLQ-PJG
       Plaintiff,
 v.                                              Honorable Gordon J. Quist

 DISH NETWORK L.L.C,                             Honorable Magistrate Phillip J. Green

      Defendant.


                       ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff, ERIK ALAN FURDERO (“Plaintiff”), by and through his attorneys, having filed

with this Court his Agreed Stipulation of Dismissal with Prejudice and the Court having reviewed

same, now finds that this matter should be dismissed.

       IT IS THEREFORE ORDERED by this Court that the above cause of action is hereby

dismissed, with prejudice.

DISTRIBUTION:


        August 27, 2018
Dated: ________________________

                                               /s/ Gordon J. Quist
                                            _______________________________________
                                            Judge, U.S. District Court
